ASE # E‘:‘lS-C§i-OUQS-SA-RP .
C ase: : -cv- -SA-RP Doc #: 7 Fl|ed: 11/21/18 1 ot 3 Page|D #: 15

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sneed C§F`;_,..i_.
N§§\Tt§§“§i§f§mgates . MlsslsslPPl
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v.
wEBsTsR couNTY DEPT oF HuMAN sERvicEs, ET AL

PET|T|ON FOR EMA|L COMMUN|CAT|ON

I, Zorri Rush, petition the court to allow materials to be emailed to the clerk. This includes
motions. briefs, video, audio, and scanned documents that comply with rules of civil procedure.

(1)Court is asked to observe the issues with using postal service in a previous case. CASE #
1:18-CV-00171-GHD-RP. This case was dismissed but the evidence submitted was not
retumed. A new case has been Eled and the evidence is needed.

(Z)Furthermore, granting this petition appears to be in accordance with a new rule
implemented by the clerk that allows petitioners to email form Consent & Registration
Fom'i to Receive Documents Eiectronically(see item 1 included).

(3)Granting this petition allows the court to provide improve the quality of justice by
expedian the process and reduces the risk of losing vital evidence Therefore. plaintiff
Zorn` Rush, asks the court to allow relevant materials be emai| to the clerk.

Undor Federal Rule of Civil Procedure 11, by signing below, l certify to the best of my knowledge, infonnation, and
belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law,' (3) the factual contentions have evidentiaiy support or, if specifically
so identitied. will likely have evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Rule 11. l agree to provide the Cierk's Oltice with
any changes to my address where case-related papers may be served. l understand that my failure to keep a
current address on tile with the Clerk's On‘ice may result in the dismissal of my case.

C
Date of signlng:the 17th day of November 2018 %/W
signature of Plaimirr ‘
f §.__.-/

Printed Name of P|aintiff Zorr`

 

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DlS'I`RICT OF MISSISS]PPI

Pro Se (Non-Prisoner)
Consent & Registration Form to Receive Documents mechanically

Pursuant to ch.R.Civ.P. S(b), and Fed.R.Civ.P. 77(d), L.U.Civ.R. 5(c) and the Court’s
Administrativc Proccdures for Elcctronic Case Filing, documents may be served through the
court’s transmission facilities by electronic means Documents that are not permitted to be
served electronically are pleadings that are to be served with process under Fed.R.Ci\/` P. 4.

1 ' hereby consent to receive service ot`
documents and notice of electronic filings via the Coul‘t’s electronic filing system to the extent
and in the manner authorized by the above rules and waiving the right to receive notice by first
class mail pursuant to Fed.R.Civ.P. S(b)(Z)(D) and ch.R.Civ.P. 77(d).

l will promptly notify the Court if there is a change in my personal data, such as name,
address, and/or c-rnail address. I will promptly notify the Court to request cancellation of
electronic scrvice.

Litigants who have consented to receive documents electronically will be sent a Notice of
Electronic Filing (NEF) via c-mail. Upon receipt of the notice, they arc permitted one “l'ree
look” at the document by eliciting on the hyperlinkcd documents The one ‘l`rec look” will
expire 15 days from the date the notice was sent. After the “free look” is used or expires, the
document can only be accesscd through PACER (Public Access to Court Elcctronic Rccords.} lt
is recommended that litigants establish a PACER account This can be accomplished by visiting
the PACER website at w\.vw.pacer.uov. PACER is an automated system that allows an
individual to view, print, and download documents for a fee.

My e-rnail address is :

 

My case number is:

 

 

Signature of Litigant

 

Mailing Ac'ldress

 

City, State, Zip Code

 

Telephone Numbcr
Datc:

 

Email this form to thc Clcrk, U.S. District Court at ect` information('cilmsnd.uscourts.gov
or mail to 911 Jackson Avcnuc, Room 369, Oxt`ord, MS 38655.

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